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                      UNITED STATES COURT OF APPEALS                      FILED
                             FOR THE NINTH CIRCUIT                         AUG 17 2023
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
JASON WOLFORD; et al.,                            No.   23-16094

                  Plaintiffs-Appellees,           D.C. No.
                                                  1:23-cv-00265-LEK-WRP
 v.                                               District of Hawaii,
                                                  Honolulu
ANNE E. LOPEZ, in her official capacity as
the Attorney General of the State of Hawaii,      ORDER

                  Defendant-Appellant.

Before: SCHROEDER, BERZON, and OWENS, Circuit Judges.

         We have received appellant’s emergency motion seeking a stay pending

appeal and an immediate administrative stay.

         This court will take no action on appellant’s emergency motion at this time,

as the stay motion, filed on August 11, 2023, is pending before the district

court. This denial is without prejudice to renewing the motion once the district

court decides the stay motion or if the district court does not decide the motion by

September 1, 2023.




OSA108
